Case 3:14-md-02516-SRU Document 745 Filed 01/01/18 Page 1 of 30
                                                                  1


 1                    UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF CONNECTICUT
 2
      - - - - - - - - - - - - - - - - x
 3
      IN RE:                              :   No. 3:14-md-02516(SRU)
 4                                        :   915 Lafayette Boulevard
      AGGRENOX ANTITRUST LITIGATION       :   Bridgeport, Connecticut
 5                                        :
                                          :   December 18, 2017
 6
      - - - - - - - - - - - - - - - - x
 7

 8                         FAIRNESS HEARING

 9
      B E F O R E:
10
            THE HONORABLE STEFAN R. UNDERHILL, U. S. D. J.
11

12    A P P E A R A N C E S:

13         FOR THE DIRECT PURCHASER CLASS:

14               GARWIN GERSTEIN & FISHER, LLP
                      Wall Street Plaza
15                    88 Pine Street, 10th Floor
                      New York, New York 10005
16               BY: BRUCE GERSTEIN, ESQ.
                      JOSEPH OPPER, ESQ.
17

18         LIAISON COUNSEL FOR THE DIRECT PURCHASER CLASS:

19               ROCHE PIA LLC
                      Two Corporate Drive, Suite 248
20                    Shelton, Connecticut 06484
                 BY: GERALD C. PIA, JR., ESQ.
21

22

23

24    (Continued)

25
Case 3:14-md-02516-SRU Document 745 Filed 01/01/18 Page 2 of 30
                                                                  2


 1         FOR THE BOEHRINGER DEFENDANTS:

 2               WHITE & CASE
                      701 Thirteenth Street, N.W.
 3                    Washington, D.C. 20005
                 BY: MATTHEW S. LEDDICOTTE, ESQ. (via telephone)
 4
                 DAY PITNEY LLP
 5                    One Audubon Street
                      New Haven, Connecticut 06511
 6               BY: RICHARD P. COLBERT, ESQ.

 7

 8         FOR THE BARR/TEVA DEFENDANTS:

 9               GOODWIN PROCTOR LLP
                      100 Northern Avenue
10                    Boston, Massachusetts 02210
                 BY: CHRISTOPHER T. HOLDING, ESQ.
11

12               PULLMAN & COMLEY
                      850 Main Street, P.O. Box 7006
13                    Bridgeport, Connecticut 06601-7006
                 BY: JAMES T. SHEARIN, ESQ.
14

15

16

17

18

19

20

21

22

23                      Sharon L. Masse, RMR, CRR
                         Official Court Reporter
24                       915 Lafayette Boulevard
                      Bridgeport, Connecticut 06604
25                          Tel: (860)937-4177
Case 3:14-md-02516-SRU Document 745 Filed 01/01/18 Page 3 of 30
                                                                  3


 1                (Proceedings commenced at 1:12 p.m.)

 2                THE COURT:   Good afternoon.

 3                COUNSEL:   Good afternoon.

 4                THE COURT:   We're here in the Aggrenox case.       We

 5    have a limited group today, so why don't we actually take

 6    appearances.

 7                MR. GERSTEIN:   Bruce Gerstein of Garwin Gerstein

 8    & Fisher, for the direct purchaser class.

 9                MR. OPPER:   Joe Opper, Garwin Gerstein & Fisher,

10    for the direct purchaser class.

11                MR. PIA:   Gerald Pia, liaison counsel for the

12    direct purchaser class.

13                THE COURT:   Thank you.

14                MR. COLBERT:    Good morning -- good afternoon,

15    actually.   Rich Colbert from Day Pitney as local counsel

16    for the Boehringer defendants.      Also on the phone is Matt

17    Leddicotte from White & Case.

18                MR. LEDDICOTTE:    Good afternoon, Your Honor.

19                THE COURT:   Good afternoon.

20                MR. HOLDING:    Good afternoon, Judge.     Chris

21    Holding with Goodwin Proctor for the Barr and Teva

22    defendants.

23                MR. SHEARIN:    Good afternoon, Your Honor.     Tim

24    Shearin for the same set of defendants.

25                THE COURT:   Very good.    Thank you.
Case 3:14-md-02516-SRU Document 745 Filed 01/01/18 Page 4 of 30
                                                                  4


 1                Well, we're here, obviously, for consideration

 2    of final approval of the proposed settlement.         I've read

 3    and I take it that there's been no change in the status in

 4    terms of objections or anybody who wants to be heard or

 5    the like?   There's no one present, for example, who wants

 6    to be heard?

 7                MR. GERSTEIN:   Bruce Gerstein, again, for the

 8    direct purchaser class.     We mailed out the notice on

 9    October 4, 2017.    The deadlines for opt-outs and

10    objections were November 3, and there has been none.            We

11    didn't expect any, to be quite frank.        We've actually

12    heard from many class members who were very pleased with

13    it, and we have some letters, etc., that have been

14    deposited with you.

15                THE COURT:   Right.

16                MR. GERSTEIN:   And just for one other point is

17    the three largest class members who had the most

18    purchasers with over 80 percent, they actually had to

19    agree to the settlement as part of that, and they had

20    agreed up front as part of the overall settlement and all

21    the terms, etc., so clearly the class is strongly

22    supportive of the settlement.

23                THE COURT:   Very good.    Thank you.    Well, it

24    looks to me like a settlement that should be approved as

25    well.   As I said before, the only real issue I have is
Case 3:14-md-02516-SRU Document 745 Filed 01/01/18 Page 5 of 30
                                                                  5


 1    attorneys' fees, and we'll talk about that in a moment.

 2    But let me just say for the record that I believe that the

 3    settlement class meets the requirements of Rule 23(a) and

 4    23(b).   I think the only -- without going through each of

 5    those in any detail -- I think the only question, really,

 6    about the 23(a) factors is numerosity, and I think we're

 7    close enough to what the Second Circuit has approved to

 8    find that numerosity exists, especially with a case such

 9    as this where the burden of individual actions I think

10    would be -- on all parties, including the defendants --

11    would be quite substantial in light of the huge volume of

12    documents that has been exchanged and reviewed.         I think

13    it would be unfortunate to let the close call on the

14    numerosity get in the way of what is otherwise a very

15    clear example of an appropriate class action and a

16    reasonable settlement.

17               The Grinnell factors in terms of substantive

18    fairness -- obviously, the procedural fairness is obvious

19    in light of the heavy litigation, the extensive arm's

20    length negotiations, and I don't think there's really any

21    doubt about the procedural fairness here.        The substantive

22    fairness under the Grinnell test I think is also easily

23    met:   complexity, reaction has been mentioned already,

24    stage of the proceedings, etc.      These are all factors, I

25    think, that support the settlement that was reached, so I
Case 3:14-md-02516-SRU Document 745 Filed 01/01/18 Page 6 of 30
                                                                   6


 1    don't see an issue there.

 2               So the substance of the settlement looks good.

 3    The question really is what portion of that settlement

 4    fund should go to counsel and what portion should go to

 5    the clients.

 6               I really -- obviously, we're looking now at the

 7    Goldberger factors, at least in part, the Goldberger

 8    factors:   time and labor expended, magnitude and

 9    complexities of the litigation, risk of litigation,

10    outcomes, quality, representation and relationship of the

11    fees to the settlement, among others.

12               I think there's maybe three issues that I have

13    with respect to the fees application.        First, it's just a

14    huge number.    I mean, I'll be completely frank.       You know,

15    as a practical matter, it's $50 million, and $50 million

16    is a gigantic attorneys' fee.      When we look at Goldberger,

17    which I think has been cited in support of the

18    application, Goldberger is recognizing the concept that as

19    the settlement amount gets larger, the percentage of the

20    settlement amount that ought to go to attorneys' fees gets

21    smaller, and my recollection is the percentage in that

22    case that was eventually approved was very small.           And the

23    Court cited, with approval, empirical studies that

24    basically say that between 50 and 75 million, courts are

25    awarding between 11 and 19 percent of the settlement
Case 3:14-md-02516-SRU Document 745 Filed 01/01/18 Page 7 of 30
                                                                  7


 1    amount, with even smaller rates for larger settlements.

 2    So that is a concern.

 3               The effort to justify the percentage by looking

 4    at the hourly rate that would have been charged for the

 5    time expended is somewhat concerning, largely because I

 6    don't have a sense that most of the hourly rates are real

 7    in the following sense:     Are these rates that are charged,

 8    actually charged and actually paid, to hourly rate

 9    customers?

10               Mr. Gerstein, I think your rate list is $1,100,

11    which is more than twice what I think is the highest rate

12    ever approved in the District of Connecticut.         So maybe

13    you've got a bunch of clients where you charge them $1,100

14    and they happily pay it, I don't know; but if most of your

15    business is contingent fee business and you don't have a

16    client who's actually paying that rate, you could say $400

17    an hour or you could say $2,500 an hour, and it would be a

18    number picked out of the air as far as making sense of the

19    claimed fee amount.     So I am skeptical about the rates

20    that are being charged.

21               There was also lots of partner time.        When only

22    six depositions have been taken and the principal work

23    performed in terms of hours expended is document review,

24    10 or 11 million documents, most of that work should not

25    be done by partners.     Most of that work should be done by
Case 3:14-md-02516-SRU Document 745 Filed 01/01/18 Page 8 of 30
                                                                  8


 1    paralegals and contract attorneys and junior associates,

 2    as some of it was, but there was a huge percentage, a

 3    larger percentage of partner time than expected for the

 4    types of work that ended up being done in this case.

 5               And, finally, I'm just a little skeptical,

 6    again, as some of the academic authorities cited in the

 7    Goldberger case indicated, what the real risk here was,

 8    the litigation risk that was assumed by these firms.            In

 9    the securities area, in the antitrust area, these are

10    cases that rarely go to trial, and so 98, 99, approaching

11    a hundred percent of these cases settle.        The risk is, are

12    they going to settle for more or less than an amount that

13    can pay the attorneys' fees the plaintiffs have incurred.

14    And that, it seems to me, is not an issue in this case;

15    that is, there's more than enough money here in this

16    settlement, and if there wasn't ever really a risk that

17    this case was going to go to trial and that the plaintiffs

18    would lose, then the amount of the fund for litigation

19    risk, it seems to me, can't be too large.

20               So I'm happy to hear from plaintiffs' counsel.

21    I assume defense counsel have no dog in this fight, but if

22    you want to be heard, obviously I'll hear from you; but

23    I'd be interested in hearing from plaintiffs' counsel,

24    especially on those three issues.       If you multiply out the

25    hours by the highest rate I'm aware of ever approved by a
Case 3:14-md-02516-SRU Document 745 Filed 01/01/18 Page 9 of 30
                                                                  9


 1    district court in the District of Connecticut, which I

 2    think is $500, you come out with a number, even though

 3    that's the average for now, paralegal hours and associate

 4    hours and contract attorney hours, if you give that rate

 5    to everybody, you still have a number that's significantly

 6    below the request.     So I'm happy to be convinced here.

 7               MR. GERSTEIN:    Should I --

 8               THE COURT:    Wherever you're comfortable is fine

 9    with me.

10               MR. GERSTEIN:    That's okay, I'll come to the

11    podium.

12               Judge, it's important for you to look at this

13    case for what it is, which is unique on a number of

14    different levels, and it really is important.         Let's look

15    at the class itself, where you mentioned there's 35 class

16    members.   Specifically, those 35 class members are

17    sophisticated business entities.       When you're looking at

18    the Goldberger factors, typically they're having tests for

19    large classes, sometimes consumer classes, etc., when you

20    have people who are not as sophisticated, don't deal with

21    business lawyers, etc.     So you're dealing with that.         As I

22    said, within the class are the three large national

23    wholesalers who are specifically sophisticated Fortune 20

24    companies who regularly hire counsel and have an idea of

25    counsel fees, etc.     All of those have approved the overall
Case 3:14-md-02516-SRU Document 745 Filed 01/01/18 Page 10 of 30
                                                                     10


  1   settlement.    So the Goldberger factors, if you look at it,

  2   what it's basically trying to do is place on the courts a

  3   basic test to stand in the place of less sophisticated

  4   people to make sure that the settlement is fair.             But

  5   there's an inverse relationship when you have very

  6   sophisticated entities who are overseeing this; and not

  7   only that, the class is not singular to this action.               The

  8   class -- we've been litigating these cases going back to

  9   1998 and all through pre-Actavis.       We were very, very much

10    involved in the whole Actavis situation.        We also were

11    with the conflict case with Actavis, the K-Dur case in the

12    Third Circuit.     And contrary to your suggestion, there

13    have been numerous failures, as well as successes.            There

14    have been numerous trials.      There have been a number of

15    trials.    We went through the Nexium trial, I think it was

16    eight weeks, and we lost that.       You know, these cases do

17    not always settle.     Many of them don't.

18                THE COURT:   Right.

19                MR. GERSTEIN:    Our job is to try to, but if we

20    can't --

21                THE COURT:   What about since Actavis was

22    decided?

23                MR. GERSTEIN:    Nexium we lost.    Once again, we

24    have a number of cases on the precipe of trial right now

25    because of the exact issue that you're raising about
Case 3:14-md-02516-SRU Document 745 Filed 01/01/18 Page 11 of 30
                                                                   11


  1   Actavis.    Actavis left open, as you know, as many issues

  2   as it solved or maybe more.      It opened up like a can of

  3   worms we've been going back and forth with.

  4               But if you look at that and also in the context

  5   that we're always on the leading edge of the law,

  6   constantly having to deal with and challenging what is

  7   important and how you emphasize it, when you're dealing

  8   with, for example, the issues of -- the impact of patent

  9   law, the patent law goes into the various economic models

10    that we're dealing with on damages and everything else.

11    When you suggest, you know, how we run the cases and the

12    matter of senior attorney time, etc., partner time, these

13    are complex issues.     They're something that you just can't

14    have a checklist for.      There are very, very complex issues

15    that have tremendous interrelationships throughout.

16                So just going back, if you think about who we

17    are, we actually -- as I said, you have very sophisticated

18    entities who have looked at this.       They know our history

19    because the core of the class have been involved in these

20    cases since 1998.     If you've seen, and we have a chart,

21    specifically it has been routine to provide similar type

22    of compensation.     There has never been a single objector

23    from any of these corporate entities.        They basically are

24    very much engaged; and the fact is they have a lot at

25    stake, it's their money, and they have monitored
Case 3:14-md-02516-SRU Document 745 Filed 01/01/18 Page 12 of 30
                                                                   12


  1   throughout what we do.      And as I've said, there's never

  2   been an objection.     In this case, which is slightly

  3   unique, to be quite frank, because of the numerosity issue

  4   we had an alternative provision where if, in fact, the

  5   Court didn't certify the class -- we thought class

  6   certification is the appropriate way -- that they would be

  7   entitled to their proportion amount of settlement on an

  8   individual basis.     They all had to sign on to that

  9   beforehand as part of our agreement.        So, I mean, it's

10    unique to say that the actual entity, specifically

11    sophisticated entity, agreed to this.        They didn't just,

12    you know -- basically, when we settle, etc., and

13    negotiate, we're basically negotiating with them, with

14    specific authority from the principals, including the

15    largest class members involved.

16                So going back to that, if you look at the basic

17    issues that you raised with me, you say it's a huge

18    number, but it's not if you look at the amount of effort

19    and time we put in this, plus the interests of the class,

20    the core interests in seeing that we're motivated to also

21    assume the losses that we have, because there are emerging

22    issues, there are many issues.       We just had a case, for

23    example, where, in the Third Circuit, where the Court

24    certified the class.     We had to go to the -- we settled

25    with three of the parties initially.        Then we settled with
Case 3:14-md-02516-SRU Document 745 Filed 01/01/18 Page 13 of 30
                                                                   13


  1   the second party.     The last party, who didn't settle, who

  2   is going to trial, appealed under 23(f) to the Third

  3   Circuit.    The Third Circuit reversed on the numerosity

  4   issue overall and -- you know, right before trial.           Those

  5   are the type of things that you have.        You have lots and

  6   lots of issues involved with this unique class that have

  7   been contested throughout.

  8               So if you look at that, we provided a chart

  9   because it's been routine that the courts have granted a

10    third -- I think I listed 18 cases -- the Court has never

11    denied our fee, and there's never been an objection by any

12    of these sophisticated entities, including the national

13    wholesalers.

14                THE COURT:   Right, but most of those are from

15    out of circuit.

16                MR. GERSTEIN:    What?

17                THE COURT:   Most of those decisions --

18                MR. GERSTEIN:    There were three in this circuit.

19                THE COURT:   Three in this circuit, right, one of

20    which is of the magnitude that this case is.         Two of the

21    three are much smaller.

22                MR. GERSTEIN:    One is -- I think it was

23    $220 million.

24                THE COURT:   Right; and two of them were, I

25    think, under $20 million.
Case 3:14-md-02516-SRU Document 745 Filed 01/01/18 Page 14 of 30
                                                                   14


  1               MR. GERSTEIN:    Which shows specifically the

  2   issues that you have.      You also have to look at the timing

  3   of the cases.    For example, we went through a period where

  4   we had to slog on, pre-Actavis, when the rules were

  5   specifically where the courts were routinely dismissing

  6   the cases on scope of the patent.       All these issues that

  7   we've been fighting for this class for all those years are

  8   embedded, and that's what they recognize, and that's why

  9   they have strongly supported us.

10                When you look at the hourly rates, which you say

11    how do we charge, you're correct that I've been doing this

12    and my firm has been doing this basically exclusively

13    since 1998; but, as I said, the class members, who

14    regularly hire outside lawyers, know what reasonable rates

15    are, they've never had an objection to any of that even

16    though they're fully aware of the facts that are before

17    you.    We're up against, and the real issue is --

18                THE COURT:   But you're not charging them that

19    rate.   You're saying, "I'll take it on a contingent fee

20    basis, and I want a third of whatever we get," right?

21                MR. GERSTEIN:    No, that's not true.

22                THE COURT:   You're charging them by the hour?

23                MR. GERSTEIN:    What we do is we never say that

24    to them because we don't have an agreement up front.          At

25    the end of the case, we ask them whether they have any
Case 3:14-md-02516-SRU Document 745 Filed 01/01/18 Page 15 of 30
                                                                   15


  1   objection to it, that's all.       We don't have an agreement

  2   beforehand.    I'm at risk in every case.

  3               THE COURT:   Whew, don't say that in Connecticut.

  4   You'll get in big trouble if you don't have a fee

  5   agreement in Connecticut.

  6               MR. GERSTEIN:    No, I'm talking about -- we have

  7   with the named plaintiff.      We're talking about with the

  8   rest of the class members.

  9               THE COURT:   Oh, I see what you're saying, okay.

10    So with the named plaintiff.

11                MR. GERSTEIN:    With the named plaintiffs we've

12    been retained specifically.

13                THE COURT:   Right, but it's not an hourly

14    agreement.

15                MR. GERSTEIN:    No, the agreement is with the

16    named plaintiffs that we will accept whatever the Court

17    awards.

18                THE COURT:   Right.

19                MR. GERSTEIN:    And they have a right to object,

20    and they never have, and nor has any class member.

21                THE COURT:   Okay, right, right.      I know they

22    haven't objected, but that begs the question to a certain

23    extent.   We're talking about the reasonableness of the

24    rates, and what you're telling me is I could put in $2,500

25    because they never object.
Case 3:14-md-02516-SRU Document 745 Filed 01/01/18 Page 16 of 30
                                                                    16


  1               MR. GERSTEIN:    Well, our rates are basically

  2   comparable to our adversaries.       We have to put on --

  3               THE COURT:   They may be, but they're getting,

  4   you know, one times their hourly -- the hours put in, and

  5   you're asking for three times the hours put in.

  6               MR. GERSTEIN:    And we are on a contingency.          The

  7   whole point of, in this circuit, is that it's based on a

  8   percentage with a lodestar check, and it's supposed to be

  9   just as a balancing, that it's not out of bounds.            Under

10    three is not an unusual lodestar check.

11                THE COURT:   No, it's not, but my point about it

12    is it's not a check because it's not a real lodestar.              The

13    fact that you -- your time and a first-year associate's

14    time are fungible here because the hours are all that

15    matter, not the rate.      Because you're just saying, We're

16    going to justify this lodestar by all the hours that I put

17    in are going to be $1,100, and we're going to put in $400

18    for a first-year associate.

19                MR. GERSTEIN:    And that's exactly what's known

20    by the class members when they deal with it, and they know

21    about that, and they think that, to be quite frank, a

22    third is fair.     So when you're looking at it, if you're

23    looking at a percentage --

24                THE COURT:   Whether a third is fair is a

25    different thing than saying that this supposed lodestar is
Case 3:14-md-02516-SRU Document 745 Filed 01/01/18 Page 17 of 30
                                                                    17


  1   a good check.    It's not a good check.      It's like -- it's a

  2   made-up check.

  3               MR. GERSTEIN:    Everything has to be in that way

  4   if you're on a contingency basis.       We have a contingency

  5   practice --

  6               THE COURT:   Right, right.     That's my point.

  7               MR. GERSTEIN:    -- and the only way we can do --

  8   the point is that we can have on that, specifically where

  9   we obviously keep our time records, is we can, on that

10    check, is to see that my rate is comparable to somebody

11    who is --

12                THE COURT:   Right, but here's the problem.        When

13    you're using made-up rates, it doesn't matter if you're

14    sitting out there doing document review, and no reasonable

15    client would pay $1,100 for you to review, in the first

16    instance, documents rather than paying three or four

17    hundred dollars for a first-year associate to do the same

18    thing.   And so what we get is a lot of partner time.          Why?

19    Because partners want to stay busy; that's great.            And

20    then they're multiplied by these outrageous rates, 1,100;

21    950; 900.    It's la-la land in terms of the rates.          And

22    then you come up with this huge number that you say, "Oh,

23    look, it's pretty reasonable.       It's only 2.47 times the

24    lodestar."    The lodestar is not a real lodestar.

25                MR. GERSTEIN:    I agree that it is not a lodestar
Case 3:14-md-02516-SRU Document 745 Filed 01/01/18 Page 18 of 30
                                                                    18


  1   specifically on the basis of what you charge, but if I

  2   charge another client that, doesn't change the existence.

  3   I'm a fiduciary.     You appointed my firm lead counsel.           I

  4   had to oversee what the people did, and I take that

  5   responsibility very seriously, in this case and many

  6   others.

  7               THE COURT:   The case law says I'm a fiduciary --

  8               MR. GERSTEIN:    I agree with that.

  9               THE COURT:   -- for the class, and so they're not

10    here, and the defense here doesn't care how we spend their

11    money, and so I've got to look out for what's happening.

12    I've got to look out for all the class members here.

13                MR. GERSTEIN:    I understand your basic concern,

14    but as I said -- you're going back to it -- the class is

15    here.   This is a sophisticated group who did have a clear

16    opportunity to say, "No, this is too high."         So they

17    aren't here in a way.      You're right, you have to deal with

18    that because we did proceed as a class, but that class is

19    here.   I could understand your overall concern if it was a

20    class made up of thousands of people or people who are, as

21    I said, less sophisticated, but you have a class made up

22    of people who are expecting substantial amounts of money.

23    Some of them will be getting in the nine figures, well

24    into nine figures --

25                THE COURT:   Right.    It's not a rounding error,
Case 3:14-md-02516-SRU Document 745 Filed 01/01/18 Page 19 of 30
                                                                   19


  1   though.    Look at Wal-Mart.    Wal-Mart is sophisticated

  2   plaintiffs in the class.

  3               MR. GERSTEIN:    Yes.

  4               THE COURT:   And the Court didn't say, You can

  5   have less review or approve a big number because they're

  6   sophisticated, they should have known better, and they

  7   didn't complain about it.      That's not the standard.      You

  8   know, I've got to impose a fee award that's rational here.

  9               MR. GERSTEIN:    Well, I would hope that you'd see

10    it as rational because, Judge, if you -- if you look at

11    this case in a very, very narrow way, specifically where

12    you're talking about this case, just on all fours, versus

13    the efforts that we've made on behalf of this class; the

14    risk we've suffered in other cases; the number of cases

15    we've had dismissed on either technicalities, procedural

16    hurdle, as the law was evolving; as I said, if you look at

17    the sophisticatation of the people, I think that you would

18    see that this is a different situation.        I think the other

19    courts have recognized that.

20                If this was a one-outer, if Wal-Mart, if this

21    was their only case and somehow they didn't pay attention

22    to it, this is a regular source of revenue for these class

23    members.    And as I said to you, I don't want to be -- say

24    this in the wrong way, but in effect it's their money.

25    You're right that it's your overall responsibility to deal
Case 3:14-md-02516-SRU Document 745 Filed 01/01/18 Page 20 of 30
                                                                   20


  1   with it, but this -- if you look at -- they know even more

  2   than this Court does the risks that we've undertaken on

  3   their behalf.    They know the history of the cases for the

  4   last twenty years.     They've seen the ups and downs in the

  5   courts, the initial cases that we had, like, for example,

  6   the Cardizem case when we had a per se liability for

  7   reverse payment, to the cases like Tamoxifen, etc., where

  8   the Court specifically had a full stop, specifically that

  9   it had to be a scope of the patent, it had to be the only

10    way you could proceed was with a share case.         They've seen

11    us go up and down in the Court of Appeals on numerous

12    times with these cases, and they understand the overall

13    efforts that are being made on their behalf, and that's

14    what really is in this courtroom right now as we speak.

15                They have these sophisticated entities who are,

16    as I said, they're not -- they want lawyers who are

17    comparable to what the adversaries are, which is the best

18    in the nation, who are going to put up the fight, who are

19    funding the case throughout, throughout the litigation,

20    all the way through -- numerous times through trial,

21    through the Court of Appeals.       They understand that we

22    have to take -- retain numerous experts, all out of pocket

23    to deal with that, and that's their response.

24                So you're right if you look at a test, but the

25    only thing I'm urging you is when you look, for example,
Case 3:14-md-02516-SRU Document 745 Filed 01/01/18 Page 21 of 30
                                                                    21


  1   at Goldberger, don't ignore the policy behind it.            They're

  2   trying to step in the shoes of what would be a

  3   sophisticated person negotiating an agreement with an

  4   attorney.    Well, you have that in this case already, and

  5   they've done that.     And although, as I've said, you might

  6   disagree with them, they've really been hurt.         They want

  7   to incentivize us.

  8               THE COURT:   Well, okay.    As you know,

  9   $50 million comes out to an outrageous hourly rate.           And

10    when you look at the -- when you look at some of the rates

11    being included here, very, very junior people, very,

12    very -- I mean, presumably inexperienced lawyers, a lot of

13    paralegal time, this is -- this is -- it's a windfall.

14    And that's what the Court of Appeals has said to avoid, is

15    a windfall.

16                MR. GERSTEIN:    Judge, it wouldn't be a windfall

17    if -- and I've said this to a number of people, anybody

18    who would go into our practice has got to be crazy when

19    you suggest -- and the reason it's not a windfall is we

20    have to fund everything.      We have to pay all those

21    people --

22                THE COURT:   There were lawyers lined up to be

23    lead counsel in this case.

24                MR. GERSTEIN:    You know something --

25                THE COURT:   Lined up, experienced lawyers.
Case 3:14-md-02516-SRU Document 745 Filed 01/01/18 Page 22 of 30
                                                                   22


  1               MR. GERSTEIN:    Judge, you wouldn't find that in,

  2   for example, for our cases for the direct purchaser class.

  3   There are relatively few who can undertake the expenses

  4   involved.    Some of them, for example, we had -- I had a

  5   case that settled earlier this year just before trial,

  6   through a mediator, that went on for 17 years, I think it

  7   was.    That is not unusual.    We have cases that are going

  8   on 10, 12 years, that are up and down in the Court of

  9   Appeals that we have to deal with.        Every single issue is

10    fought out of these cases.

11                THE COURT:   Right.    In those cases maybe you get

12    a higher --

13                MR. GERSTEIN:    Well, but it's being reflected by

14    this class.    If this class was a one-off away from those

15    other cases, I would agree with you.        But the core,

16    99 percent of the class members are in virtually every

17    case, and they understand it, and they understand it full

18    well.

19                So the only thing I can suggest to you is to

20    urge you to try to look at the bigger picture, and the

21    bigger picture is they have come back and supported us

22    each time.    When I went through, as I said, saw the

23    support I had from the class members overall to this

24    Court, they support us; they want us to represent their

25    interests; and they, as I said, have strongly communicated
Case 3:14-md-02516-SRU Document 745 Filed 01/01/18 Page 23 of 30
                                                                     23


  1   to you that they don't have a problem with that.             They

  2   want us incentivized.      I can understand that you're going

  3   to do that, but you're actually basically providing monies

  4   to people who are suggesting the opposite to you.            They

  5   really don't want it.      And the problem I have is it's

  6   equating, in a more generalized text, the class action

  7   that there is people who do need more court oversight.

  8               THE COURT:   Well, okay.    But you're not telling

  9   me that you're not going to be incentivized if you get

10    less than --

11                MR. GERSTEIN:    We're incentivized, I agree, Your

12    Honor, but the fact of the matter is it's a question of

13    what generally is thought of as fair.        And as I said, if

14    this Court -- virtually every other Court has provided

15    specifically a third, except for one Court where we asked

16    for 27.5 percent because it was over $500 million, and

17    that was only a partial settlement, and one Court was

18    30 percent, which is the very, very first case going back

19    to the early 2000s that was settled.

20                THE COURT:   Well, that just seems inconsistent

21    with what the Second Circuit is telling me in terms of

22    reducing the percentage as the settlement amount goes up.

23    Goldberger was what, 4 percent, something like that?

24    Eleven?   What was it?

25                MR. GERSTEIN:    I've never seen percentages, and
Case 3:14-md-02516-SRU Document 745 Filed 01/01/18 Page 24 of 30
                                                                   24


  1   it depends on the complexity, what was done in the case.

  2               THE COURT:   Right, but, you know --

  3               MR. GERSTEIN:    You, yourself, have to put out

  4   and deal with some of the most complex issues going on,

  5   and you saw the level of lawyering that was needed.          This

  6   is a national issue, with big policy issues, that we've

  7   been basically dealing with throughout the entire course

  8   of the litigation.

  9               THE COURT:   Yes, it was an interesting, complex

10    case, but it was not a case -- you know, when you have six

11    depositions, and you had a very interesting motion to

12    dismiss and a couple of interlocutory appeals that were

13    easily rejected --

14                MR. GERSTEIN:    When you have six -- when you

15    have six depositions, you're not seeing what's going on

16    behind the scenes to get us to a point where we can

17    negotiate.    The experts that we have to engage here, the

18    different points that we have, the biggest issue you have

19    in this case that you would have been facing is the but

20    for world and the causation issues.        That is all -- you

21    know, has to be basically vetted for us to be able to come

22    to a reasonable settlement.      We have to get to a point.

23    You're right that good lawyering, if it's done right, will

24    avoid trial, but there are significant trials, but we have

25    to get to the point and we have to be prepared to try it.
Case 3:14-md-02516-SRU Document 745 Filed 01/01/18 Page 25 of 30
                                                                   25


  1   And that is what was engaged.

  2               So I understand what you're seeing on the

  3   surface, but you're really not seeing what was done to get

  4   us to the point of being able to resolve this case.          It

  5   would be exactly the same type of issues, I mean, because

  6   we've been litigating these on numerous cases.         Causation

  7   is -- you would have two fundamental issues, you know,

  8   whether or not the reverse payments were pretextual or

  9   not; but the other big issue is the causation issues, and

10    that involves serious issues on patent law, because the

11    question of likelihood of when a generic would have come

12    to market, the success, all of that would go into the

13    various causation theories that we had to deal with.          We

14    were working throughout with numerous, numerous different,

15    you know, aspects of this case to get to that point.          We

16    didn't just go in there and negotiate a settlement with

17    the mediator, with the suggestion, Well, what do you think

18    is a good number?     These were done with the clear idea of

19    what would we be bringing to trial.        What are we dealing

20    with?

21                Now, fortunately, you didn't have to basically

22    do that, publicize that, but it was all done internally,

23    and it was all necessary to bring this case to a proper

24    conclusion.

25                THE COURT:   Okay.   So if we took the 33,000
Case 3:14-md-02516-SRU Document 745 Filed 01/01/18 Page 26 of 30
                                                                   26


  1   hours of professional time, which I take it means

  2   everything from partner down to paralegal --

  3               MR. GERSTEIN:    Correct.

  4               THE COURT:    -- right, and we used the highest

  5   rate ever approved in the District of Connecticut, $500 an

  6   hour, we get to $16.5 million.       So that's $500 an hour for

  7   paralegals, $500 an hour for first-year associates --

  8               MR. GARWIN:    But these are national firms.

  9   These are national cases.      We have to litigate against

10    similarly national firms.      But you're close to what we

11    had.   We had 19,633.     But the reality is we're still from

12    New York litigating this nationally, from New York, from

13    Boston, from Philadelphia.        So to suggest Connecticut, I

14    can understand if it's a local issue, but this is really a

15    national case that happened to be located in Connecticut.

16    I mean, we're spending our time in New York, with the New

17    York rents and everything else, and paying all the support

18    staff at New York rates, which is quite different than

19    Connecticut.    I agree with you there.

20                THE COURT:    Okay.   All right.

21                Anyone else want to be heard?

22                MR. GERSTEIN:    Thank you, Your Honor.

23                THE COURT:    Thank you.

24                Well, look.    I understand these are issues that

25    are very important to lawyers, and I have spent a fair
Case 3:14-md-02516-SRU Document 745 Filed 01/01/18 Page 27 of 30
                                                                   27


  1   amount of time trying to figure this one out because of

  2   the various factors that you've mentioned, but I'm not at

  3   one-third on the percentage that ought to be paid out in

  4   legal fees.    It seems to me that the Second Circuit has

  5   repeatedly said that as the settlement amount goes up, the

  6   percentage that's appropriate goes down.        Whether you look

  7   at it from an hourly rate or a percentage rate, the point

  8   is to avoid a windfall to counsel in a case where the

  9   clients, even though there aren't a huge number of them,

10    are not present to be looking over the factors that the

11    Court is using to determine an award.

12                I think that in light of the complexity of

13    issues, the relative risk that there would not be a

14    favorable outcome, the amount of time expended, etc., that

15    a fee award equal to 20 percent of the settlement fund is

16    an appropriate and, frankly, still massive attorneys' fee

17    award.   And so it would be my intention to award a total

18    of fees of 20 percent of the fund, with interest, with

19    costs.   There were almost a million dollars in costs.

20    Obviously, that's not to come out of the 20 percent.          And

21    the interest, 20 percent of the interest is also

22    appropriate.    But it seems to me that if I look at

23    Goldberger, if I look at Wal-Mart, if I look at any number

24    of cases out of the Second Circuit, a fee of 33-1/3 would

25    be a complete windfall, in my view, in light of the
Case 3:14-md-02516-SRU Document 745 Filed 01/01/18 Page 28 of 30
                                                                   28


  1   various factors that I'm required to consider.

  2               So if anybody wants to be heard further, before

  3   we finalize this, let me know.

  4               MR. GERSTEIN:    Judge, I have two other points.

  5               THE COURT:   Yes.

  6               MR. GERSTEIN:    What is -- we requested an

  7   incentive award for the plaintiffs --

  8               THE COURT:   Oh, yes.

  9               MR. GERSTEIN:    -- $75,000.

10                THE COURT:   Yes.   Look, I think that's quite

11    generous, too, but I'm not going to buck you there.          I

12    think that's fine.

13                MR. GERSTEIN:    And formally we have to present

14    to you the allocation plan, which is based pro rata, or we

15    need you to rule on that.

16                THE COURT:   Yes, I think that's an appropriate

17    plan.   Thank you.

18                So I plan to sign the proposed order that was

19    submitted with the paperwork with the adjustment for the

20    attorneys' fees, but otherwise they look fine to me.

21                Anybody want to be heard?

22                MR. COLBERT:    Nothing, Your Honor.

23                THE COURT:   All right.    Well, I want to thank

24    everybody for coming in.      Thank you also for reaching a

25    settlement that I think is a fair one.        And we will see
Case 3:14-md-02516-SRU Document 745 Filed 01/01/18 Page 29 of 30
                                                                   29


  1   you next time.     We'll stand in recess.

  2               (Proceedings adjourned at 1:52 p.m.)

  3

  4

  5

  6

  7

  8

  9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25
Case 3:14-md-02516-SRU Document 745 Filed 01/01/18 Page 30 of 30
                                                                   30




                           C E R T I F I C A T E



      No. 3:14-md-02516(SRU)

      In Re:   Aggrenox Antitrust Litigation



                  I, Sharon L. Masse, RMR, CRR, Official Court

      Reporter for the United States District Court for the

      District of Connecticut, do hereby certify that the

      foregoing pages are a true and accurate transcription of

      my shorthand notes taken in the aforementioned matter to

      the best of my skill and ability.




                              December 27, 2017


                            /S/ Sharon L. Masse
                        Sharon L. Masse, RMR, CRR
                         Official Court Reporter
                         915 Lafayette Boulevard
                      Bridgeport, Connecticut 06604
                            Tel: (860)937-4177
